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                                                       4Entered on Docket
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                                          July 01, 2022
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                                                      13   Litigation Finance Fund International SP
                                                      14                             UNITED STATES BANKRUPTCY COURT
                                                      15
                                                                                               DISTRICT OF NEVADA
                                                      16
                                                           In re:
                                                      17
                                                           INFINITY CAPITAL MANAGEMENT, INC.                      Case No. 21-14486-abl
                                                      18
                                                                                  Debtor.                         Chapter 7
                                                      19
                                                                                                                         ORDER APPROVING
                                                      20
                                                                                                                      STIPULATION REGARDING
                                                      21                                                                HASELECT-MEDICAL
                                                                                                                      RECEIVABLES LITIGATION
                                                      22                                                           FINANCE FUND INTERNATIONAL
                                                                                                                      SP’s MOTION TO ENFORCE
                                                      23                                                               COURT ORDERS AND TO
                                                                                                                       COMPEL SURRENDER OF
                                                      24
                                                                                                                            COLLATERAL
                                                      25

                                                      26
                                                                    The Court, having considered the Stipulation [ECF No. 225] (the “Stipulation”) entered
                                                      27
                                                           into by and between HASelect-Medical Receivables Litigation Finance Fund International SP
                                                      28

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                                                       1   (“HASelect”) and Tecumseh-Infinity Medical Receivable Fund, LP’s (“Tecumseh”) relating to

                                                       2   HASelect’s Motion to Enforce Court Orders and to Compel Surrender of Collateral [ECF No. 210]

                                                       3   (the “Motion”) and Tecumseh’s Opposition to the Motion [ECF No. 219] (the “Opposition”), and

                                                       4   good cause appearing, IT IS HEREBY ORDERED:

                                                       5            1.       The Stipulation is APPROVED.

                                                       6            2.       HASelect’s share of the Overlap Payments1 that are the subject of the Motion, as

                                                       7   allocated by TPL on the basis of BillGFB, shall be promptly disbursed by TPL to HASelect.

                                                       8            3.       Tecumseh and HASelect shall jointly instruct TPL to henceforth refrain from

                                                       9   collecting proceeds of HASelect’s share of any Overlap Account.

                                                      10            4.       Notwithstanding paragraph 3, in the event that TPL mistakenly accepts any

                                                      11   payment in satisfaction of any Overlap Account, TPL shall: (i) allocate such payment between the
              1731 Village Center Circle, Suite 150




                                                      12   Portfolio and HASelect on a pro rata basis according to BillGFB as independently verified by TPL
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                                                      13   through commercially reasonable efforts, (ii) promptly disburse to HASelect the proceeds of

                                                      14   HASelect’s share of any such payment as so allocated, and (iii) include in the next regular monthly

                                                      15   report required under the Servicing Agreement a statement certifying that TPL verified the

                                                      16   BillGFB amounts on which any such allocation and disbursement was based.

                                                      17            5.       The Stipulation shall not be construed to modify or discharge any obligation owed

                                                      18   pursuant to the Servicing Agreement. To the extent of any conflict between the Stipulation and

                                                      19   the Servicing Agreement, the Servicing Agreement shall control. Further, nothing contained

                                                      20   herein shall be construed to delay or impede TPL’s obligation to promptly disburse to HASelect

                                                      21   any proceeds of the Collateral, including, but not limited to, circumstances in which TPL’s

                                                      22   monthly reporting or certification, as referenced in Paragraph 4(iii) above, might be delayed.

                                                      23            6.       The Motion and the Opposition are hereby withdrawn, and the June 30, 2022

                                                      24   hearing thereon is hereby vacated.

                                                      25            7.       This Court shall retain jurisdiction to interpret and enforce the provisions of the

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                                                      27   1
                                                            Capitalized terms that are not expressly defined herein shall have the same meanings ascribed to such terms as in the
                                                           Stipulation.
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                                                       1   Stipulation and this Order only. Nothing in either the Stipulation or this Order shall be construed

                                                       2   to give the Bankruptcy Court jurisdiction over anything other than the discrete issues addressed

                                                       3   herein.

                                                       4

                                                       5             IT IS SO ORDERED.

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                                                           Respectfully submitted:
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